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                                                                                              21CV02773
                                                                                              Div2


             IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                          CIVIL COURT DEPARTMENT

SIGNATURE FLOORING, INC.,
8200 Nieman Road
Lenexa, Kansas 66214

                              Plaintiff,

v.                                                   Case No.
                                                     Pursuant to Chpt. 60, K.S.A.
SHAW INDUSTRIES, INC.,
Serve: Registered Agent
Corporation Service Company
200 S.W. 30th Street
Topeka, Kansas 66611
                          Defendant.

                                           PETITION

       COMES NOW Plaintiff Signature Flooring, Inc. ("Plaintiff' or "SFI"), by and through

undersigned counsel, and for its cause of action against Shaw Industries, Inc. ("Defendant" or

"Shaw"), states as follows:

                                            PARTIES

      1.       Plaintiff SFI is a Kansas corporation with its principal place of business located at

8200 Nieman Road, Lenexa, Kansas 66214.

      2.       Defendant Shaw is a Kansas corporation and may be served through its registered

agent at the address provided above.

                                JURISDICTION AND VENUE

       3.      This Court has jurisdiction over Defendant because it is a resident of the State of

Kansas and it regularly conducts business in the State of Kansas.

       4.      Venue is proper in this Court and County pursuant to K.S.A. 60-604(1), because

Plaintiffs registered office is located in Johnson County, Kansas.


                                                          Clerk of the District Court, Johnson County Kansas
                                                                                        06/23/21 12:53pm NG

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                                FACTS AND BACKGROUND

       5.      Defendant is a manufacturer and supplier of, among other things, carpet, resilient,

hardwood, laminate, tile and stone flooring products.

       6.      On or about April 2, 2019, Plaintiff requested a quote from Defendant for luxury

vinyl plank ("LVP") and adhesive for an apartment community, Artistry KC, located at 1918

Locust Street, Kansas City, Missouri 64108 (the "Project").

       7.      On or about April 2, 2019, Defendant's territory manager provided the requested

quote to Plaintiff via email. The email also provided that DP-99 was the requisite adhesive for

Plaintiff to use and purchase with the LVP product.

       8.      On or about March 13, 2020, a purchase order for the LVP and DP-99 adhesive was

provided.

       9.      Defendant provides a limited warranty for its products, which states as follows:

                  If a defect covered by this warranty is reported to Shaw in writing within
                  one year of purchase, Shaw will supply new material of the same or
                  similar grade sufficient to repair or replace the defective material. Shaw
                  will assume all reasonable labor costs. Reasonable labor costs shall be
                  determined solely by Shaw Industries, Inc.

       10.     Shortly after the LVP was installed, Defendant was informed of defects in the LVP

and DP-99 adhesive including, distortion and ends of the vinyl planks lifting ("LVP Defects").

       11.     After providing prompt notice of the LVP Defects, Defendant's Technical Services

department directed Plaintiff to use a different adhesive, Shaw-200 adhesive.

       12.     On or about May 26, 2021, Defendant was notified Plaintiff was experiencing LVP

Defects using the alternative adhesive.




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        13.    On or about June 3, 2020, pursuant to orders from the owner and/or general

contractor, Plaintiff requested that Defendant demo and replace approximately 40,000 sq. ft. of

LVP supplied by Defendant and installed on the Project.

        14.    On or about June 3, 2020, Defendant agreed to pay for the cost to demo

approximately 40,000 sq. ft. of LVP and to remove the DP-99 adhesive.

        15.    On or about June 8, 2020, Defendant urged Plaintiff to continue using the purchased

LVP and Shaw-200 adhesive to complete the Project.

       16.     After demolition was completed, Plaintiff had to purchase replacement LVP and

Shaw-200 adhesive to complete the Project. Defendant did not pay for the replacement costs

incurred by Plaintiff.

       17.     On or about June 23, 2020, Defendant was informed of continued LVP Defects

through use of the Shaw-200 adhesive.

       18.     On or about June 23, 2020, Plaintiff asked Defendant to provide support to remedy

the outstanding LVP Defects.

       19.     Defendant refused to cure the outstanding LVP Defects or to pay for replacement

of approximately 40,000 square feet of defective LVP and DP-99 adhesive, even though it agreed

to pay for the cost to demo and remove same.

       20.     As a result of Defendant's failure and refusal to cure the LVP Defects and to pay

for replacement of the defective LVP and DP-99 adhesive, Plaintiff incurred the cost of mitigating

and replacing the materials in the amount of $91,120.80 pursuant to orders of the owner and/or

general contractor on the Project.

       21.     Defendant owes the amount of $91,120.80 to Plaintiff for the costs incurred to

mitigate and replace the defective LVP and related adhesives.



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        22.        Due to the recurring LVP Defects, Plaintiff contracted with a third-party

independent expert, LGM and Associates, to perform testing of the LVP.

        23.        On or about September 8, 2020, LGM and Associates concluded that the LVP "is

defective due to an inherent planar instability." As a result of said defect, "[n]o adhesive will

counteract a dimensional or planar instability in any flooring material," and the defect is "an

inherent manufacturing issue and a latent defect."

        24.        On or about February 1, 2021, Plaintiff submitted LGM and Associate's findings,

as part of a demand that Defendant pay Plaintiff in the amount of $91,120.80 for materials, labor

and freight costs incurred in replacing the defective LVP and DP-99 adhesive.

        25.        On or about May 19, 2021, Plaintiff, through counsel, submitted a subsequent

demand letter to Defendant.

        26.        Despite Plaintiff's demand letters, Defendant has failed and refused to pay Plaintiff

$91,120.80 for replacement materials, labor and freight costs, to cure the LVP Defects.

        27.        Plaintiff is still owed said balance, together with prejudgment interest and

reasonable attorneys' fees and court costs incurred by Plaintiff.

                         COUNT I — BREACH OF EXPRESS WARRANTY

        28.        Plaintiff incorporates herein by reference the allegations contained in paragraph 1

through 27, as though fully set out herein.

        29.        The LVP and DP-99 adhesive installed on the Project began to fail within ten days

of installation.

        30.        Defendant provided Plaintiff with a one year repair and/or replace warranty.

        31.        The LVP and/or DP-99 adhesive became defective within that warranty period.




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        32.      Pursuant to the warranty, it was Defendant's responsibility to take action and repair

and/or replace the defective LVP and DP-99 adhesive in a timely manner.

        33.      Plaintiff provided Defendant with written notice and promptly gave Defendant an

opportunity to remedy the LVP Defects.

        34.      Defendant failed to undertake the warranty repairs and/or replacement within a

reasonable amount of time, and instead, continues to deny responsibility for the replacement costs

incurred by Plaintiff to remedy the defective LVP installed and DP-99 adhesive used on the

Project.

        35.      As a direct result of Defendant's breach of express warranty, Plaintiff has suffered

principal damages in the amount of $91,120.80.

        WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant

for such damages as are fair and reasonable, for replacement costs for material, labor and freight,

for pre- and post-judgment interest, for attorneys' fees, and for costs incurred for this action, and

for such other and further relief as this Court deems just and proper.

                COUNT II — BREACH OF IMPLIED WARRANTY
        OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE

        36.      Plaintiff incorporates herein by reference the allegations contained in paragraph 1

through 35, as though fully set out herein.

        37.      Defendant is a merchant of goods.

        38.      Defendant sold to Plaintiff the LVP and DP-99 adhesive used on the Project.

        39.      Defendant knew or should have known that the LVP and DP-99 adhesive were

being used in residential, multi-family units where the products may be exposed to sunlight and/or

heat.

           40.   Defendant described and advertised its goods for sale.

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        41.     Defendant's descriptions provided on their website regarding the LVP, include,

"[w]on't shrink and contract with extreme temperature and moisture variances, more stable and

flexible than other compositions."

        42.      Defendant     also   included     representations   and     affirmations     via    email

correspondence with Plaintiff confirming DP-99 as the correct adhesive to use with the type of

LVP Plaintiff would be installing.

        43.     The descriptions, representations, and affirmations concerning Defendant's goods

resulted in warranties that the goods were sold as described and that they were worthy and/or fit

for a particular purpose, that they were intended to be used for residential, multi-family units where

the products may be exposed to sunlight and heat and that said adhesive was the correct type to

use with the LVP Plaintiff purchased and installed.

        44.     Plaintiff reasonably relied upon Defendant's judgment, descriptions, and

information indicating the LVP was suitable for residential use and that the flooring would be

sufficient and last for at least 15 years.

        45.     When installed at the Project, the LVP was not suitable and did not last beyond a

few days.

        46.     Defendant was given notice of the LVP Defects, Defendant agreed to demo

approximately 40,000 sq. ft. of installed LVP and used DP-99 adhesive, but refused to cover the

cost of replacement.

        47.     Plaintiff incurred replacement costs in the amount of $91,120.80 for materials and

labor and freight costs.




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       48.     As a direct result of Defendant's breach of the implied warranties of

merchantability and/or fitness for a particular purpose, Plaintiff has suffered damages in the

amount of $91,120.80.

       WHEREFORE, Plaintiff respectfully request that judgment be entered against Defendant

for such damages as are fair and reasonable, for replacement costs for material, labor and freight,

for pre- and post-judgment interest, for attorneys' fees, for costs incurred for this action, and for

such other and further relief as this Court deems just and proper.

                            COUNT III — UNJUST ENRICHMENT

       49.     Plaintiff incorporates herein by reference the allegations contained in paragraph 1

through 48, as though fully set out herein.

       50.     Defendant supplied Plaintiff the LVP and DP-99 adhesive used on the Project.

       51.     The LVP and DP-99 adhesive installed on the Project began to fail and became

defective within ten days of installation.

       52.     Defendant was given notice of the LVP and DP-99 Defects, Defendant agreed to

demo and remove approximately 40,000 sq. ft. of installed LVP and used DP-99 adhesive, but

refused to cover the cost of replacement.

       53.     Defendant received a direct benefit from Plaintiff's having to repurchase

approximately 40,000 sq. ft. of replacement LVP and new adhesive from Defendant in order for

Plaintiff to fulfill its contractual duties on the Project, which it was compelled to do under its

contractual agreement(s) related to the Project.

       54.     Defendant appreciated and acknowledged the benefit by, among other things,

accepting Plaintiff's order and payment for the replacement LVP and adhesive.

       55.     Defendant's retention of its benefit from Plaintiff's repurchasing approximately



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40,000 sq. ft. of LVP and new adhesive, in order to replace Defendant's original product which

failed and became defective, is inequitable without repayment of the amount paid by Plaintiff to

Defendant.

       56.     Defendant has been unjustly enriched by Plaintiff's purchase of replacement

materials in the amount of $91,120 plus interest.

       WHEREFORE, Plaintiff respectfully request that judgment be entered against Defendant

for such damages as are fair and reasonable, for replacement costs for material, labor and freight,

for pre- and post-judgment interest, for costs incurred for this action, and for such other and further

relief as this Court deems just and proper.


                                                          Respectfully submitted,

                                                          DYSART TAYLOR COTTER
                                                          McMONIGLE & BRUMITT, P.C.

                                                    By:      /s/ Lee B. Brumitt
                                                          Lee B. Brumitt              KS #23397
                                                          Benjamin J. Stringer        KS #28444
                                                          4420 Madison Avenue, Suite 200
                                                          Kansas City, Missouri 64111
                                                          (816) 931-2700 (Telephone)
                                                          (816) 931-7377 (Facsimile)
                                                          lbrumitt@dysarttaylorcorn
                                                          bstringer@dysarttaylorcom

                                                          ATTORNEY FOR PLAINTIFF




                                                    8         Clerk of the District Court, Johnson County Kansas
                                                                                            06/23/21 12:53pm NG

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               IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                           CIVIL COURT DEPARTMENT



SIGNATURE FLOORING INC
                     Plaintiff                                  Case No: 21CV02773
              VS                                                Division: 2
                                                                K.S.A. Chapter 60
SHAW INDUSTRIES INC
                              Defendant



                         REQUEST AND SERVICE INSTRUCTION FORM


To: Clerk of the District Court:


Please issue a SUMMONS and PETITION in this action for SHAW INDUSTRIES INC whose address
for service is:

       200 SW 30TH STREET
       TOPEKA, KS 66611


Service by an authorized process server.




                                           By: /s/ LEE BURCHAM BRUMITT
                                           LEE BURCHAM BRUMITT, #23397
                                           4420 MADISON AVENUE, SUITE 200
                                           KANSAS CITY, MO 64111
                                           816-931-2700




                                                         Clerk of the District Court, Johnson County Kansas
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                                                                                              Div2


             IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                          CIVIL COURT DEPARTMENT

SIGNATURE FLOORING, INC.,

             Plaintiff,
v.
                                                             Case No.: 21CV02773
SHAW INDUSTRIES, INC.,                                       Div. 2

             Defendant.

       CLERK'S EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD

        On application of Hal D. Meltzer of Baker Sterchi Cowden & Rice, LLC of Overland

Park, Kansas, attorney for defendant Shaw Industries, Inc., said defendant is granted an

additional fourteen (14) days or until July 30, 2021, to answer or otherwise plead. This Order is

effective as of the date and time shown on the electronic file stamp.

        BY THE COURT IT IS SO ORDERED.

                                                                   /s/ MADELEINE LAYTON
                                                                   Dated: 07/16/21
Submitted by:

BAKER STERCHI COWDEN & RICE, LLC

/s/ Hal D. Meltzer
Hal D. Meltzer                KS #10121
Megan Sterchi Lammert         KS #27161
51 Corporate Woods
9393 West 110th Street, Suite 500
Overland Park, KS 66210
Telephone:     (913) 451-6752
Facsimile:     (816) 472-0288
meltzer@bscr-law.com
rnsterchi@bscr-law.com
ATTORNEYS FOR DEFENDANT
SHAW INDUSTRIES, INC.




                                                          Clerk of the District Court, Johnson County Kansas
                                                                                        07/16/21 02:08pm ML

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 16th day of July, 2021, a true and correct
copy of the foregoing document was sent electronically and/or mailed to the following:

Lee B. Brumitt
Benjamin J. Stringer
Dysart Taylor Cotter McMonigle & Brumitt, P.C.
4420 Madison Ave., Suite 200
Kansas City, MO 64111

ATTORNEYS FOR PLAINTIFF
                                                     /s/ Hal D. Meltzer




                                                          Clerk of the District Court, Johnson County Kansas
                                                                                        07/16/21 02:08pm ML

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                                                                                                                           Div2

                                                  AFFIDAVIT OF SERVICE

                                                           County of Johnson                                          District Court
   State of Kansas

    Case Number: 21CV02773

    Plaintiff/Petitioner:
    SIGNATURE FLOORING, INC.
    vs,
    Defendant/Respondent:
    SHAW INDUSTRIES, INC.

    Received by HPS Process Service & Investigations to be served on Shaw Industries, Inc, c/o Corporation
    Service Company, 2900 Southwest Wanamaker Road, Suite 204, Topeka, KS 66614.

    I, KATIE SHIFLETT, being duly sworn, depose and say that on the 25th day of June, 2021 at 9:16 am. I:

     Served the within named establishment by delivering a true copy of Summons and Petition to Lauren Musick,
     Legal Assistant at the address of 2900 Southwest Wanamaker Road, Suite 204, Topeka, KS 66614 .


     I am over the age of eighteen, and have no interest in the above action.




                                                                                1
                                                                                              7.31\kA
                                                                                  KATIE SHIFLETT
                                                                                  Process Server
          Sub ri d and Sworn,lp,before me on the (1) day
          o                       k by the affiant who is                         HPS Process Service & Investigations
          personally known to me.
                                                                                  www.hpsprocess.com
                                                                                  1669 Jefferson
          NOTARY PUBLIC                                                           Kansas City, MO 64108
                                                                                  (800) 796.9559

                                                                                  Our Job Serial Number HAT-2021013025
                                                                                  Ref: Signtt        ino / StIqui     ;
ikElmer William Wilson                                                            Servidelf . aFI Zistncruntini,lnafsgh County Kansas
NOTARY PUBLIk-STATE OF KANSAS                                                                                     07/22/21 02:17pm ML
MY APPY EXP           ray/            Copyright 0 1982-2021 Database Services, Inc, - Process Servers Toolbox V8.2a




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